Case 1:22-cv-05200-DLI-SJB Document 1-1 Filed 08/31/22 Page 1 of 3 PageID #: 46
Case 1:22-cv-05200-DLI-SJB Document 1-1 Filed 08/31/22 Page 2 of 3 PageID #: 47
Case 1:22-cv-05200-DLI-SJB Document 1-1 Filed 08/31/22 Page 3 of 3 PageID #: 48




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                              CIVIL ACTION
 AMERICAN TRANSIT INSURANCE COMPANY,
                                     Plaintiff,                22-CV-5200
         -against-
 ALLBODY HEALING SUPPLIES LLC, DAVID TSATSANACHVILI, JOHN
 DOES 1 THROUGH 5 AND ABC CORPORATIONS 1 THROUGH 5,

                                     Defendants.
